Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 1 of 50. PageID #: 17




                  Exhibit A
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 2 of 50. PageID #: 18
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 3 of 50. PageID #: 19
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 4 of 50. PageID #: 20
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 5 of 50. PageID #: 21
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 6 of 50. PageID #: 22
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 7 of 50. PageID #: 23
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 8 of 50. PageID #: 24
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 9 of 50. PageID #: 25
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 10 of 50. PageID #: 26
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 11 of 50. PageID #: 27
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 12 of 50. PageID #: 28
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 13 of 50. PageID #: 29
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 14 of 50. PageID #: 30
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 15 of 50. PageID #: 31
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 16 of 50. PageID #: 32
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 17 of 50. PageID #: 33
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 18 of 50. PageID #: 34
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 19 of 50. PageID #: 35
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 20 of 50. PageID #: 36
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 21 of 50. PageID #: 37
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 22 of 50. PageID #: 38
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 23 of 50. PageID #: 39
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 24 of 50. PageID #: 40
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 25 of 50. PageID #: 41
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 26 of 50. PageID #: 42
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 27 of 50. PageID #: 43
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 28 of 50. PageID #: 44
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 29 of 50. PageID #: 45
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 30 of 50. PageID #: 46
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 31 of 50. PageID #: 47
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 32 of 50. PageID #: 48
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 33 of 50. PageID #: 49
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 34 of 50. PageID #: 50
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 35 of 50. PageID #: 51
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 36 of 50. PageID #: 52
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 37 of 50. PageID #: 53
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 38 of 50. PageID #: 54
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 39 of 50. PageID #: 55
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 40 of 50. PageID #: 56
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 41 of 50. PageID #: 57
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 42 of 50. PageID #: 58
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 43 of 50. PageID #: 59
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 44 of 50. PageID #: 60
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 45 of 50. PageID #: 61
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 46 of 50. PageID #: 62
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 47 of 50. PageID #: 63
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 48 of 50. PageID #: 64
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 49 of 50. PageID #: 65
Case: 1:23-cv-00437-DAR Doc #: 1-1 Filed: 03/03/23 50 of 50. PageID #: 66
